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                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY

                                      :
Edward Schwartz, on behalf of himself :               Civil Action No. 11-4052(JLL)
and others similarly situated,        :
                                      :
             Plaintiff,               :
                                      :
      vs.                             :
                                      :
Avis Rent A Car System, LLC,          :
                                      :
             Defendant.               :
                                      :


     PLAINTIFF’S REPLY MEMORANDUM OF LAW IN SUPPORT OF MOTION
        FOR LEAVE TO FILE A THIRD AMENDED COMPLAINT TO ADD
         AVIS BUDGET GROUP, INC. AS AN ADDITIONAL DEFENDANT


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I.    INTRODUCTION

      Avis Rent a Car System, LLC (“ARACS”) does not dispute that good cause

exists to adjust the April 23, 2012 Scheduling Order so that Plaintiff may amend

his complaint to add Avis Budget Group (“ABG”) as a defendant. ARACS does

not dispute an absence of prejudice and undue delay if the Court allows Plaintiff’s

proposed amendment. And ARACS does not dispute that the people involved in

operating and controlling www.avis.com and the associated rental documents are

ABG employees. Rather, ARACS asserts a straw-man argument that Plaintiff’s

proposed amendment fails to allege a basis for piercing ABG’s corporate veil. This

argument not only ignores the testimony of ABG’s employees and Plaintiff’s

allegation that ABG has direct responsibility for www.avis.com’s content and the

associated rental documents, but also this Court’s earlier ruling that identical

allegations against ARACS sufficiently alleged a claim under the New Jersey

Consumer Fraud Act (“NJCFA”). That same NJCFA claim, along with a claim for

declaratory and injunctive relief, is the only claim Plaintiff’s amendment alleges

against ABG.

II.   SINCE ABG DIRECTLY PARTICIPATED IN THE MISCONDUCT
      ALLEGED, PLAINTIFF NEED NOT ALLEGE A CORPORATE-
      VEIL THEORY OF LIABILITY

      “[D]erivative liability cases are to be distinguished from those in which the

alleged wrong can seemingly be traced to the parent through the conduit of its own



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personnel and management and the parent is directly a participant in the wrong

complained of.” United States v. Bestfoods, 524 U.S. 51, 64 (1998) (emphasis

added and internal quotation marks omitted). “In such instances, the parent is

directly liable for its own actions.” Id. at 65 (emphasis added).

       Cited by ARACS, Bestfoods involved a parent corporation’s alleged direct

liability for the cost of cleaning up hazardous waste from its subsidiary’s facility.

Id. at 61-70. Although the case involved an alleged CERCLA violation, the

Supreme Court’s reasoning regarding parent-subsidiary liability is instructive.

       The Court explained that the test for analyzing a parent company’s direct

liability, which is what Plaintiff charges here, is distinct from the actual-control

test used for assessing indirect liability when attempting veil-piercing. “The

question is not whether the parent operates the subsidiary, but rather whether it

operates the facility,1 and that operation is evidenced by participation in the

activities of the facility, not the subsidiary.” Id. at 68 (emphasis added). In other

words, a district court must not focus on the relationship between the parent and its

subsidiary to evaluate direct liability but rather the relationship of the parent to the

activity that gives rise to Plaintiff’s claim. See id.



1
 CERCLA defines “facility” broadly to mean any “building, structure, installation,
equipment,” and similar business undertaking, id. at 56 n.2, which for present
purposes can be analogized to www.avis.com and the rental documents, because
CERCLA’s facility definitions do not neatly fit the facts of this case.

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       In Bestfoods, the parent company’s governmental and environmental affairs

director was “heavily involved in environmental issues” at the subsidiary, “actively

participated in and exerted control over a variety of [the subsidiary’s]

environmental matters,” and “issued directives regarding [the subsidiary’s]

responses to regulatory inquiries.” Id. at 72. In a unanimous decision, the Court

held that this evidence was “enough to raise an issue of [the parent’s] operation of

the facility through [its employee’s] actions” and remanded the case on the theory

of direct liability. Id. 72-73.

       Applying the Court’s guidance, the question here is not whether ABG

operates ARACS but rather whether ABG operates www.avis.com and controls the

rental documents associated with Plaintiff’s rental, as these items are the “facility”

or undertaking that drove ARACS’s scheme. Discovery from ARACS reveals that

ABG does operate www.avis.com and that ABG does control the associated rental

documents. ARACS never suggested otherwise. Instead it concedes that ABG

personnel operate and control www.avis.com, and that ABG personnel manage the

rental documents that govern Avis rental transactions. See Brief in Opposition at 1

(“many of the Avis personnel involved in these aspects of the business are

technically employees of ABG”). And despite a statement on www.avis.com that

claims it is “controlled and operated by” ARACS, ARACS has failed to identify a

single ARACS’s employee, director, or officer with knowledge about or



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responsibility for the acts alleged. Indeed, the testimony of the only individuals it

did identify – three ABG employees – does not even suggest that ARACS had any

responsibility for the content on www.avis.com or the content in the rental

documents.

      Despite the evidence, ARACS insists that ABG cannot be held liable

because ABG uses “common employees to exercise overlapping responsibilities

with respect to [the Avis and Budget] brands.” Brief in Opposition at 2. ARACS

urges that according to Bestfoods, the fact that officers and directors hold positions

with both the parent and its subsidiary and “can and do ‘change hats’ to represent

the two corporations separately” alone is not enough to establish direct liability of

the parent. 524 U.S. at 69-70. But ARACS ignores that Bestfoods did not extend

and apply that principle to shared employees of the parent company who were not

officers or directors of the subsidiary. Id.

      Here, the ABG employees responsible for the content of www.avis.com and

the rental documents are not high-ranking officers or directors of either ABG or

ARACS and were acting only as ABG employees on behalf of ABG. See id. at 72,

(the actions of an individual who was not an employee, officer, or director of the

subsidiary and worked only for the parent company were taken only on behalf of

the parent). And ARACS has provided no indication that those employees were




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acting on behalf of or as employees of ARACS. Indeed, as discussed, supra, these

types of employees may in fact give rise to direct liability of the parent.

       Finally, ARACS’s reliance on Seltzer v. I.C. Optics, Ltd., 339 F. Supp. 2d

601 (D.N.J. 2004) and Verni v. Harry M. Stevens, Inc., 387 N.J. Super. 160 (App.

Div. 2006), is similarly misplaced. In Verni, the court considered whether a parent

corporation was responsible for its corporate subsidiary’s dram shop liability – not

whether the parent corporation itself had participated in the misconduct. 387 N.J.

Super. at 197-203. And Seltzer questioned whether, for jurisdictional purposes,

plaintiff could attribute a New Jersey corporation’s actions to its Italian parent on

an alter-ego theory. 339 F. Supp. 2d at 609. Finding that the parent company “itself

committed no tortious or illegal acts,” the court concluded that New Jersey has

little interest in haling them into court in this state.” Id. at 613.

III.   THE PROPOSED THIRD AMENDED COMPLAINT
       SUFFICIENTLY ALLEGES THE DIRECT LIABILITY OF ABG.

       Plaintiff’s prior second amended complaint alleged that “Avis controls its

website, www.avis.com, from [its] headquarters.” Dkt. No. 44 at ¶ 2. This Court

previously ruled that this and the other allegations in Plaintiff’s complaint

sufficiently stated claims against ARACS for direct liability under the New Jersey

Consumer Fraud Act. See September 19, 2012 Order and Opinion denying

ARACS’s motion to dismiss (Dkt. Nos. 56-57). Plaintiff’s proposed Third

Amended Complaint makes identical allegations against ABG. See Dkt. No. 73-6


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at ¶ 4 (“Together, Defendant ABG and Defendant ARACS control the website,

www.avis.com, from these headquarters.”). Accordingly, the proposed amended

complaint also sufficiently states a claim against ABG for direct liability under the

New Jersey Consumer Fraud Act.

IV.   CONCLUSION

      ABG contributed to, if not ran, ARACS’s scheme to charge Plaintiff for

frequent-flyer miles without suitable disclosure. Plaintiff did not know—indeed,

could not have known—of ABG’s involvement before deposing all of the people

that ARACS identified in its initial disclosures, who were not ARACS’s

employees but ABG’s employees. Had Plaintiff known to name ABG from the get-

go, there would have been no basis for ABG’s dismissal then. It is only because

Plaintiff unearthed damning evidence against ABG two years into this case that he

must seek this Court’s permission to do now what he could not do earlier. After all,

ARACS itself put ABG into this case by identifying three witnesses who explained

the liability story as it relates to ARACS and ABG.

      For the reasons set forth above, Plaintiff respectfully submits that this Court

should grant his motion for leave to file his Third Amended Complaint.




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